AO 466A (Rev . 12/09) Waiver of Rule 5 & 5. 1 Hearings (Comp laint or Indictment)


                                        UNITED STATES DISTRICT COURT FILEDINO?ENCOURT
                                                                      for the                                   ON      21\\)2Qz'fCf1)
                                                         Eastern D1stnct ofN ort h Caro 1·ma
                                                                  •  •                                                 Pet rA. Moore, Jr., Clerk
                                                                                                                       US District Court
                                                                                                                       ~ast~rr; m~trlct of NC
                  United States of America                                     )
                                 V.                                            )    Case No. 5:25-MJ-1182-RN
                                                                               )
             RICARDO GRANADILLO-PADILLA                                        )
                                                                               )    Charging Distri ct's Case No. EP:25-m-00278
                             Defendant                                         )

                                                  WAIVER OF RULE 5 & 5.1 HEARINGS
                                                       (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)                       Western District of Texas

          I have been informed of the charges and of my rights to:
          ( I)       retain counsel or request the ass ignment of co unsel if I am unable to retain counsel;
          (2)        an identity hearing to determine whether I am the person named in the charges;
          (3)        production of the warrant, a certified copy of the warrant, or a reliable electronic co py of either;
          (4)        a preliminary hearing within 14 days of my first apl?earance if I am in custody and 2 1 days otherwise -
                     unless I am mdicted - to determine whether there 1s probable cause to believe that an offense has
                     been committed;
          (5)       a hearing on any motion by the government for detention;
          (6)        request transfer of the proceed ings to this distri ct under Fed. R. Crim. P. 20, to plead gui lty.

          I agree to waive my right(s) to :
          0          an identity hearing and production of the warrant.
          0          a preliminary hearing.
         0           a detention hearing.
                     an identity hearing, production of the warrant, and any preliminary or detention hearing to wh ich I may
                     be entitled in this district. I request that those hearings be held in the prosecuting di strict, at a time set
                     by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuti ng district where the charges are
pending against me.


Date:            2/11 /2025
                                                                                                                               1
                                                                                            Defendant 's signature


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                                                                                      Signature of defendant 's attorney



                                                                                     Printed name of defendant's attorney




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